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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF FLORIDA
                            TALLAHASSEE DIVISION


ERIC K. BROOKS,

      Plaintiff,

v.                                     CASE NO.: 4:19CV524-MW-CAS

DAMON MILLER,

     Defendant.
_______________________________/

     NOTICE OF WITHDRAWAL AND SUBSTITUTION OF COUNSEL

      Effective immediately, Hannah D. Monroe, Assistant City Attorney, will

replace Matthew Scanlan, Assistant City Attorney, as counsel for the Defendant.

All pleadings, correspondence, etc. should be mailed to the address below:

                         HANNAH D. MONROE
                         Assistant City Attorney
                         Florida Bar No.: 102762
                         CITY ATTORNEY’S OFFICE
                         300 S. Adams Street, Box A-5
                         Tallahassee, Florida 32301
                         Phone: (850) 891-8554 Fax: (850) 891-8973
                         Hannah.Monroe@talgov.com

Dated this 7th day of February 2020.
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                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 7th day of February 2020, a true and correct

copy of the foregoing has been furnished electronically and by regular mail to the

Plaintiff, Eric K. Brooks, Inmate No. 582151, Tomoka Correctional Institution, 3950

Tiger Bay Road, Daytona Beach, Florida 32124.

                                            s/Hannah D. Monroe
                                            HANNAH D. MONROE
                                            Assistant City Attorney
                                            Florida Bar No.: 102762
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                                            ATTORNEY FOR DEFENDANT




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